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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                  CASE NO.: 19-CV-21148-SCOLA

  BRYAN BOIGRIS,

             Plaintiff/Counter-Defendant,

  v.

  EWC P&T, LLC, a Florida
  limited liability company,

         Defendant/Counter-Plaintiff.
  __________________________________/

                COUNTER-DEFENDANT’S SECOND AMENDED AFFIRMATIVE
                  DEFENSES TO COUNTER-PLAINTIFF’S COUNTERCLAIM

             COMES NOW, Plaintiff/Counter-Defendant, BRYAN BOIGRIS (the “Plaintiff” or

  “Counter-Defendant”), by and through undersigned counsel, and hereby files his Second

  Amended Affirmative Defenses, in response to the Counterclaim filed by Defendant/Counter-

  Plaintiff EWC P&T, LLC (the “Defendant” or “Counter-Plaintiff”) and hereby states as

  follows:

                                  SPECIFIC AFFIRMATIVE DEFENSES

       I.       FIRST AMENDED AFFIRMATIVE DEFENSE

            Counter-Plaintiff’s claims should be barred by the doctrine of unclean hands.

            Counter-Plaintiff’s Consolidated original Notice of Opposition, in the matter which was

  the precursor to the present matter, states that the Counter-Defendant (Applicant) has a lack

  of bona fide intent to the use the marks, alleging, “specifically, the Applicant filed for the

  Opposer’s identical marks, for goods related to those of Opposer, and upon information

  and belief, with full knowledge of Opposer’s prior use, and Opposer’s rights in and to the

  marks, all with the intention to trade off of Opposer’s goodwill and/or improperly attempt to

  reserve a right in the marks. As such, the Applicant has acted in bad faith in applying for

  the marks and prosecuting the opposed applications.” See Consol. Notice of Opp. at ¶ 15.
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  The Counter-Plaintiff’s allegations are devoid of any facts to support the notion that Counter-

  Defendant has a lack of bona fide intent and lacks good faith and Counter-Plaintiff’s rely

  solely on a vague assertion, based “upon information and belief”.

       Among other things, Counter-Plaintiff willful filed to register the Marks and/or file any

  “intent to use” said Marks prior to the Counter-Defendant’s own “intent to use” application.

  Once Counter-Plaintiff realized that Counter-Defendant’s “intent to use” had been filed, and

  thus had priority over any subsequent filing by Counter-Plaintiff, the Counter-Plaintiff

  sought to destroy Counter-Defendant’s business by filing the aforementioned Notice of

  Opposition. The Notice of Opposition had no merit because Counter-Defendant’s own “intent

  to use” applications had temporal, and therefore legal, priority. The only way that Counter-

  Plaintiff could undermine Counter-Defendant’s rights under the “intent to use” applications

  was, therefore, to force Counter-Defendant to expend excessive sums on legal fees and,

  moreover, to effectively prevent Counter-Defendant from being able to obtain financing and

  business relationships to bring the intended products to market in a timely fashion.

       As to the issue of “cybersquatting,” Counter-Plaintiff has further shown evidence of

  unclean hands. In particular, Counter-Plaintiff has never shown any interest in the Domain

  Names at issue in the Counterclaim until Counter-Defendant refused to abandon its rights

  under the “intent to use” applications.           Counter-Plaintiff’s allegations concerning

  “cybersquatting” are simply a tool to threaten and harm Counter-Defendant and were only

  initiated   after   Counter-Defendant   brought    the   instant   litigation.   The   alleged

  “cybersquatting” Domains have nothing to do with the Marks at issue in this litigation; the

  Domains are simply a way for Counter-Plaintiff to wrongfully threaten Counter-Defendant.

       Even if Counter-Defendant had registered the Domains in question, which is disputed,

  Counter-Plaintiff never even asked Counter-Defendant, in writing or otherwise, to transfer

  said Domains to Counter-Plaintiff. In fact, the Domains in question have been abandoned


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  for quite some time; and have thus been freely available to anyone, including the Counter-

  Plaintiff, for a mere $9.99 registration fee. Counter-Plaintiff’s unclean hands are evident

  from the fact that Counter-Plaintiff has never sought to obtain said Domains even once they

  were freely available to anyone on the internet.

     II.     SECOND AMENDED AFFIRMATIVE DEFENSE

       Counter-Plaintiff is barred from recovery insofar as Counter-Defendant acted at all

  times in good faith.

       Counter-Defendant’s good faith is reflected in the general allegations within the

  Complaint, incorporated in their entirety herein, with respect to the fact that Counter-

  Defendant had a bona fide intent to use the Marks in the cosmetics business. In or about

  late 2015 and into early 2016, Plaintiff commenced plans to create a line of private label

  cosmetic products to sell through, inter alia, his Shopify platform and via Amazon.

       Plaintiff ultimately decided upon various names for his private label cosmetic products

  that included the following names: “Reveal Me”; “Smooth Me”; and “Renew Me”.

       Prior to, and soon after, filing the “intent to use” applications for said Marks, Plaintiff

  had been in contact with his mentors and with product and packaging designers to fulfill his

  dream of staring a cosmetic line using the Marks set forth in his “intent to use” applications.

  See Complaint ¶ 18.

       With respect to the issue of the Domains referenced in the Counterclaim, Counter-

  Plaintiff’s allegations are disputed.     However, even if Counter-Plaintiff’s allegations

  regarding the registration of the Domains were true, the registration of said Domains cannot

  be reasonably classified as “in bad faith,” because, inter alia, the Domains in question appear

  to have never been actually used for any website, commercial or otherwise. Moreover, even

  if Counter-Defendant or his agent had registered said Domains, Counter-Plaintiff never even

  asked for said Domains to be transferred to Counter-Plaintiff. In fact, the Domains in


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  question have been abandoned for quite some time; and have thus been freely available to

  anyone, including the Counter-Plaintiff, for a mere $9.99 registration fee. Moreover, the

  Domain Names in question are not copies of Counter-Defendant’s alleged trademarks, but

  are actually sufficiently different so as to make it clear that the registration of said Domains,

  by anyone, would not constitute bad faith.

  Dated: November 5, 2019.                     Respectfully submitted,

                                               HIRZEL, DREYFUSS & DEMPSEY, PLLC
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                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a copy of the foregoing was served via CM/ECF

  Notification to all parties registered to receive electronic notice on this 5th day of November,

  2019.

                                               By: /s/ Patrick Dempsey
                                                       PATRICK G. DEMPSEY




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